Case 3:17-cv-00577-MMH-JBT Document 45 Filed 03/02/18 Page 1 of 2 PageID 201



                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION


   LAURA WOOD,

                 Plaintiff,

   v.                                                       Case No. 3:17-cv-577-J-34JBT

   CASHCALL, INC.,

                 Defendant.



                                ORDER OF DISMISSAL

          THIS CAUSE is before the Court on the Joint Stipulation of Dismissal With

   Prejudice (Dkt. No. 44; Stipulation) filed on March 1, 2018. In the Stipulation, the parties

   request dismissal of this matter with prejudice. See Stipulation at 1. Accordingly, it is

   hereby

          ORDERED:

          1.     This case is DISMISSED with prejudice.

          2.     Each party shall bear their own attorney’s fees, costs and expenses.

          3.    The Clerk of the Court is directed to terminate all pending motions and close

                 the file.

          DONE AND ORDERED in Jacksonville, Florida this 2nd day of March, 2018.
Case 3:17-cv-00577-MMH-JBT Document 45 Filed 03/02/18 Page 2 of 2 PageID 202



   ja


   Copies to:

   Counsel of Record




                                        -2-
